                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

SHANNON D. WREN,                                  )
                                                  )
               Plaintiff,                         )
                                                  )
v.                                                )      Case. No. 23-3091-JWB-GEB
                                                  )
(fnu) (lnu),                                      )
                                                  )
               Defendant.                         )
                                                  )

                                 ENTRY OF APPEARANCE

       Assistant Attorney General Matthew L. Shoger hereby enters his appearance as counsel

of record for Defendant (fnu) (lnu).

                                          Respectfully submitted,

                                          OFFICE OF ATTORNEY GENERAL
                                          KRIS W. KOBACH

                                          /s/ Matthew L. Shoger
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 26th day of May, 2023, the foregoing document was filed with
the clerk of the court by using the CM/ECF system, with a copy served by means of first-class
mail, postage prepaid, addressed to:

       Shannon D. Wren
       Jackson County Jail
       210 US Hwy 75
       Holton, KS 66436


                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger
                                             Assistant Attorney General




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